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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN



LAURA ANNE RAPP, LAURA RAPP,
as Former Personal Representative of the                        PRELIMINARY PRETRIAL
Laurence A. Berg Estate,
                                                                 CONFERENCE ORDER
                               Plaintiff,
       v.                                                              17-cv-948-bbc

ANDREW J. LAUFERS, et al.,


                               Defendants.




       This court held a recorded telephonic preliminary pretrial conference in this case on

March 15, 2018. Plaintiff is representing herself and appeared without an attorney. Defendants

appeared by Sheila Sullivan. The court set the schedule and discussed with the parties how this

case will go forward.




                                  Read this whole order NOW

       This federal civil lawsuit is a serious matter. As a party to a federal civil lawsuit, it is your

duty to understand what you are supposed to do and when you are supposed to do it. To help

you, this order explains what your duties are and what your deadlines are. This court has a

number of rules that you must follow. It will not be easy to do everything that you are supposed

to do, and you will not have a lot of time. Therefore, it is important for you to read this order

now so that you can do things the right way.

                         Review the Federal Rules of Civil Procedure

       The Federal Rules of Civil Procedure are the rules that control much of what happens in

this lawsuit. Not all of those rules will be important in your case, but some of them will be very
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important, particularly the rule about summary judgment and the rules about discovery. It is

your duty to know the rules of procedure that apply to you in this case. This court cannot

provide you with a copy of the rules of procedure. You will have to find your own copy of the

rules to review.

          The Federal Rules of Evidence could be important later in this lawsuit. The rules of

evidence affect the parties’ submissions for summary judgment motions. Also, if this case goes

all the way to trial, the rules of evidence will affect how the evidence is presented at trial. It is

your duty know the rules of evidence that apply to you in this case. This court cannot provide

you with a copy of the rules of evidence. You will have to find your own copy of the rules to

review.

                             Service of documents on your opponent

          The usual rule is that every letter, motion, brief, exhibit, or other document that you file

with the court in this lawsuit must be served on your opponent at the same time. This means

that whenever you mail a document to the court, you also must mail a copy of that document

to your opponent at the same time.           The exception to this rule is if the Wisconsin

Department of Justice has agreed to represent your opponent. The DOJ has agreed to

accept electronic service of documents on behalf of the litigants it represents. This means that

you do not have to serve your filings separately on any opponent represented by the DOJ.

Submitting a filing to the court will count as serving an opponent represented by the DOJ. If

some of your opponents are represented by the DOJ and others are not, you will not have to

serve the DOJ-represented opponents separately, but you will have to serve the other opponents




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separately. If you are confused about which opponents you have to serve separately, you should

refer to the previous memorandum of the court explaining which opponents need to be served.

       For those opponents who must be served separately, in order to prove that they have

been served, you must certify service by including with each submission to the court a sentence

at the end of your document, or on a separate piece of paper, in which you swear or certify that

you sent a copy through the mail with proper postage to your opponent’s lawyer. If you do not

serve your documents on your opponent and if you do not certify service, then this court will

not look at your documents. If you think you will have trouble making copies, then you should

think about this ahead of time and follow the directions in the next section about copying.




                                           Scheduling

1.     Disclosure of Expert Witnesses: Plaintiff: September 7, 2018

                                              Defendants: October 19, 2018

       Because expert witnesses are different from other witnesses, there is a special rule telling

how plaintiffs and defendants must name their experts and explain what those experts are going

to say at trial. That rule is Rule 26(a)(2) of the Federal Rules of Civil Procedure. If a party does

not follow the requirements of Rule 26(a)(2) by his (or her) deadline to disclose expert

witnesses, then this court will not allow that expert witness to present evidence in this case.

       Physicians, nurses and other similar care givers who will be offering evidence only about

what they did, and who will not be offering new expert opinions, must be named as experts by

the deadlines set forth above, but these types of witnesses do not have to prepare written reports

for this lawsuit.



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       This court does not have any money to help plaintiff hire an expert witness. This court

does not have any lists or other information that would help plaintiff or defendants locate or

contact an expert witness. The parties are on their own and they should keep this in mind if

they think they might want expert witnesses in this case. There is no extra time in the schedule

to allow for extensions, so the parties should begin looking for expert witnesses right away if this

type of witness might be important for summary judgment or for trial.




2.     Deadline for Filing Dispositive Motions: November 16, 2018

       There are two kinds of dispositive motions: (1) motions to dismiss, and (2) motions for

summary judgment. No one may file a dispositive motion after the deadline unless the court

grants permission. The court usually does not grant permission to file a late motion, so you

must work hard on this case to meet the deadlines.

       A) Motions To Dismiss

       Motions to dismiss usually do not require the parties to present evidence or to take

discovery. If a defendant files a motion to dismiss, he (or she) must submit a supporting brief

at the same time.

       Plaintiff must file and serve his response to a motion to dismiss within 21 calendar days

of service of the motion. The court starts counting these 21 days on the day the motion to

dismiss is filed with the court. Any reply brief by the defendant must be filed and served within

10 calendar days of service of the response.

       B) Motions for Summary Judgment




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       Summary judgment is a way for plaintiff or defendants to win this lawsuit (or parts of

it) before the trial. Rule 56 of the Federal Rules of Civil Procedure explains how the parties must

present their evidence and their legal arguments when they file or respond to a summary

judgment motion. Rule 56 is important, so you should read it carefully, even before a summary

judgment is filed, so that you can be ready for a summary judgment motion and then to do

things correctly.

       This court has a written set of rules that explains how to file a summary judgment motion

and how to respond to your opponent’s summary judgment motion. This “Procedure Governing

Summary Judgment” is attached to this order and you should read it now. This will help you

to understand how much work will be involved, and understand the parts that give plaintiffs

trouble, like writing good responses to the defendants’ proposed findings of fact.

       Because it is very hard for a pro se plaintiff to prepare everything needed to respond to

a summary judgment motion, the court will give you 30 calendar days to file every part of your

response and to serve it on the defendant’s attorney. The court will start counting your 30 day

response deadline on the day that it receives defendant’s motion for summary judgment. Any

reply must be filed and served not later than 10 calendar days after service of the response.

       BE AWARE: you are not going to get an extension of this 30 day deadline. The only way

to get more time would be if you can convince the court that something totally unfair happened

that actually prevented you from meeting your deadline, and this was completely somebody

else’s fault. Some things that might seem unfair to you are not reasons to get more time. For

example, you will not get more time just because you claim that you did not have enough time




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or money to make copies. You will not get more time if you waited too long to get all the

information you think you need to respond to the motion.

       Also, if you do not follow the court’s procedure for how to respond to summary

judgment, then you will not get more time to do it over unless the court decides on its own that

you should get a second chance.

       The only way to make sure that the court will consider your documents is to start early,

do them right the first time, and file them and serve them on time. If you do not do things the

way it says in Rule 56 and in the court’s written summary judgment procedure, then the court

will not consider your documents.

       A party may not file more than one motion for summary judgment in this case without

first getting permission from the court.




3.     Discovery Cutoff: April 12, 2019

       “Discovery” is the word used in federal courts to describe how plaintiffs and defendants

can learn information and get documents that are useful to deciding this lawsuit. Rules 26

through 37 and 45 of the Federal Rules of Civil Procedure explain how you may get information

and documents from the defendants and how the defendants may get information and

documents from you. You should read Rules 26 through 37 and 45 now so that you understand

how this works, and so that you can begin taking discovery in this case.

       The court expects both sides to follow Rules 26 through 37 and 45. You have no right

to get information or documents to use in this case except in the way these rules say. For

example Rule 26(b) says that you may discover evidence that is relevant to the claims or defenses


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in this lawsuit. You may not discover evidence that is not relevant. Rule 26(c) protects all

parties from discovery requests that are annoying, oppressive, or too expensive or too much time

to be worth it in this case. Defendants often object that discovery demands violate Rules 26(b)

or 26(c), so it is important to make careful discovery requests that are aimed at getting the

information and documents you really need for this lawsuit, and not aimed at getting other

information and documents that you don’t really need.

       Another reason that it is important to make careful discovery requests is because Rule

33(a) says that a party only may serve 25 interrogatories on his opponents. An interrogatory

is a written question that you want the defendants to answer under oath. Even if you have lots

of questions that you want the defendants to answer so that you can learn information about

your claims, you cannot ask more than 25 questions unless the court gives you permission first.

This court usually does not give either side permission to ask more than 25 interrogatories. That

means you must use your 25 interrogatories to ask the most important questions.

       Sometimes the defendant does not object to a few extra interrogatories, and this court

expects that the defendants and their attorney in their case will be reasonable. But the plaintiff

should not count on obtaining answers to more than 25 interrogatories during this lawsuit.

       Rule 34 allows you to ask a defendant to show you documents that are relevant to this

lawsuit, but it does not require the defendant to make free photocopies of these documents for

you. The court expects the defendant and its attorney to be reasonable when responding to

document production requests. The best way for a plaintiff to obtain quick and complete

disclosures from defendants is for the plaintiff to limit his document requests to the documents

that he really needs to prepare his claims for summary judgment and for trial.




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       If the parties disagree about discovery requests, then this court would like them to try to

work it out if they can do so quickly, but the court does not require this if it would be a waste

of time. If either side thinks that the other side is not doing what it is supposed to do for

discovery and they cannot work it out, then either the plaintiff or the defendant quickly should

file a motion with the court. If the parties do not bring discovery problems to the court’s

attention quickly, then they cannot complain that they ran out of time to get information that

they needed for summary judgment or for trial.

       If a party files a motion to compel discovery, or to protect from discovery, or for some

other discovery problem, that party also must submit at the same time his (or her) other

documents that show why the court should grant the motion. If your opponent files a discovery

motion, you only have seven calendar days to file and to serve your written response. The court

will not allow a reply brief on a discovery motion unless the court asks for one.

       The court does not want the parties to file their discovery material with the court, except

to support some other matter in this lawsuit, such as a summary judgment motion. Once a

document or a copy of a document is in the court’s file, no one has to file another copy, as long

as the parties make it clear to the court where the court can find the document in the file.

       A party need not file a deposition transcript with the court until that party is using the

deposition in support of some other submission, at which time the entire deposition must be

filed. All deposition transcripts must be in compressed format. The court will not accept

duplicate transcripts. The parties must determine who will file each transcript.




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4.     Final Pretrial Submissions and Disclosures: April 19, 2019

                                               Responses: May 3, 2019

       The first date is the deadline to file and serve all Rule 26(a)(3) disclosures, as well as all

motions in limine, proposed voir dire questions, proposed jury instructions, and proposed verdict

forms. All responses in opposition are due by the second date. The format for submitting

proposed voir dire questions, jury instructions and verdict forms is set forth in the Procedures

Governing Final Pretrial Submissions, which is attached.

      Note well: the parties also must submit courtesy copies of all these submissions to chambers.




5.     Final Pretrial Conference: May 14, 2019 at 4:00 p.m.

       Any deposition that has not been filed with the Clerk of Court by the date of the final

pretrial conference shall not be used by any party for any purpose at trial.




6.     Trial: May 20, 2019 at 9:00 a.m.

       The parties estimate that this case will take three days to try.

       Trial shall be to a jury of eight and shall be bifurcated. This means that the parties will

offer evidence and arguments only on the issue of liability, that is, whether plaintiff has proved

his claims. If the jury find that the plaintiff has met his burden, then the parties will offer

evidence and arguments on the issue of damages.

       This case will be tried in an electronically equipped courtroom and the parties may

present their evidence using this equipment. It is up to the parties and lawyers to check whether

their personal electronic equipment works with the court’s electronic equipment.



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       The parties must have all witnesses and other evidence ready and available to present at

trial in order to prevent delay. If you are not ready with your witnesses or other evidence ready

when it is your turn, then the court could end your presentation of evidence.

       Entered this 22nd day of March, 2018.

                                            BY THE COURT:

                                            /s/

                                            STEPHEN L. CROCKER
                                            Magistrate Judge




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                              HELPFUL TIPS FOR FILING
                           A SUMMARY JUDGMENT MOTION




Please read the attached directions carefully – doing so will save your time and the court’s.

REMEMBER:

       1. All facts necessary to sustain a party’s position on a motion for summary judgment
must be explicitly proposed as findings of fact. This includes facts establishing jurisdiction.
(Think of your proposed findings of fact as telling a story to someone who knows nothing
of the controversy.)

        2. The court will not search the record for factual evidence. Even if there is evidence
in the record to support your position on summary judgment, if you do not propose a finding
of fact with the proper citation, the court will not consider that evidence when deciding the
motion.

      3. A fact properly proposed by one side will be accepted by the court as undisputed
unless the other side properly responds to the proposed fact and establishes that it is in
dispute.

       4. Your brief is the place to make your legal argument, not to restate the facts. When
you finish it, check it over with a fine tooth comb to be sure you haven’t relied upon or
assumed any facts in making your legal argument that you failed to include in the separate
document setting out your proposed findings of fact.

       5. A chart listing the documents to be filed by the deadlines set by the court for
briefing motions for summary judgment or cross-motions for summary judgment is printed
on the last page of the procedures.




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                    MEMORANDUM TO PRO SE LITIGANTS
                 REGARDING SUMMARY JUDGMENT MOTIONS



      This court expects all litigants, including persons representing themselves, to

follow this court’s Procedures to be Followed on Motions for Summary Judgment. If a

party does not follow the procedures, there will be no second chance to do so. Therefore,

PAY ATTENTION to the following list of mistakes pro se plaintiffs tend to make when

they oppose a defendant’s motion for summary judgment:

      •      Problem: The plaintiff does not answer the defendant’s proposed facts
             correctly.

             Solution: To answer correctly, a plaintiff must file a document titled
             “Response to Defendant’s Proposed Findings of Fact.” In this document,
             the plaintiff must answer each numbered fact that the defendant proposes,
             using separate paragraphs that have the same numbers as defendant’s
             paragraphs. See Procedure II.D. If plaintiff does not object to a fact that
             the defendant proposes, he should answer, “No dispute.”

      •      Problem: The plaintiff submits his own set of proposed facts without
             answering the defendant’s facts.

             Solution: Procedure II.B. allows a plaintiff to file his own set of proposed
             facts in response to a defendant’s motion ONLY if he thinks he needs
             additional facts to prove his claim.

      •      Problem: The plaintiff does not tell the court and the defendant where
             there is evidence in the record to support his version of a fact.

             Solution: Plaintiff must pay attention to Procedure II.D.2., which tells him
             how to dispute a fact proposed by the defendant. Also, he should pay
             attention to Procedure I.B.2., which explains how a new proposed fact
             should be written.

      •      Problem: The plaintiff supports a fact with an exhibit that the court cannot
             accept as evidence because it is not authenticated.
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                       Solution: Procedure I.C. explains what may be submitted as evidence. A
                       copy of a document will not be accepted as evidence unless it is
                       authenticated. That means that the plaintiff or someone else who has
                       personal knowledge what the document is must declare under penalty of
                       perjury in a separate affidavit that the document is a true and correct copy
                       of what it appears to be. For example, if plaintiff wants to support a
                       proposed fact with evidence that he received a conduct report, he must
                       submit a copy of the conduct report, together with an affidavit in which he
                       declares under penalty of perjury that the copy is a true and unaltered copy
                       of the conduct report he received on such and such a date.

      NOTE WELL: If a party fails to respond to a fact proposed by the opposing party,
the court will accept the opposing party’s proposed fact as undisputed. If a party’s
response to any proposed fact does not comply with the court’s procedures or cites
evidence that is not admissible, the court will take the opposing party’s factual statement
as true and undisputed. You’ll find additional tips for making sure that your
submissions comply with the court’s procedures on page 8 of this packet.

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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

     PROCEDURE TO BE FOLLOWED ON MOTIONS FOR SUMMARY JUDGMENT

                      I. MOTION FOR SUMMARY JUDGMENT

A.    Contents:

      1.    A motion, together with such materials permitted by Rule 56(c) as the
            moving party may wish to serve and file; and

      2.    In a separate document, a statement of proposed findings of fact or a
            stipulation of fact between or among the parties to the action, or both; and

      3.    Evidentiary materials (see I.C.); and

      4.    A supporting brief.



B.    Rules Regarding Proposed Findings of Fact:

      1.    Each fact must be proposed in a separate, numbered paragraph, limited as
            nearly as possible to a single factual proposition.

      2.    Each factual proposition must be followed by a reference to evidence
            supporting the proposed fact. The citation must make it clear where in the
            record the evidence is located. If a party is citing an affidavit of a witness
            who has submitted multiple affidavits or the deposition of a witness who
            has been deposed multiple times, that party should include the date the
            cited document was filed with the court. For example,

                  1. Plaintiff Smith bought six Holstein calves on
                  July 11, 2006. Harold Smith Affidavit, filed Jan.
                  6, 2007, p.1, ¶ 3.

      3.    The statement of proposed findings of fact shall include ALL factual
            propositions the moving party considers necessary for judgment in the
            party’s favor. For example, the proposed findings shall include factual
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           statements relating to jurisdiction, the identity of the parties, the dispute,
           and the context of the dispute.

     4.    The court will not consider facts contained only in a brief.

C.   Evidence

     1.    As noted in I.B. above, each proposed finding must be supported by
           admissible evidence. The court will not search the record for evidence. To
           support a proposed fact, you may use:

           a.      Depositions. Give the name of the witness, the date of the
                   deposition, and page of the transcript of cited deposition testimony;

           b.      Answers to Interrogatories. State the number of the interrogatory
                   and the party answering it;

           c.      Admissions made pursuant to Fed. R. Civ. P. 36. (state the number
                   of the requested admission and the identity of the parties to whom
                   it was directed); or

           d.      Other Admissions. The identity of the document, the number of the
                   page, and paragraph of the document in which that admission is
                   made.

           e.      Affidavits. The page and paragraph number, the name of the affiant,
                   and the date of the affidavit. (Affidavits must be made by persons
                   who have first hand knowledge and must show that the person
                   making the affidavit is in a position to testify about those facts.)

           f.      Documentary evidence that is shown to be true and correct, either by
                   an affidavit or by stipulation of the parties. (State exhibit number,
                   page and paragraph.)


                II. RESPONSE TO MOTION FOR SUMMARY JUDGMENT

A.   Contents:

     1.    A response to the moving party’s proposed finding of fact; and

     2.    A brief in opposition to the motion for summary judgment; and
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     3.    Evidentiary materials (See I.C.)

B.    In addition to responding to the moving party’s proposed facts, a responding party
     may propose its own findings of fact following the procedure in section I.B. and C.
     above.

     1.    A responding party should file additional proposed findings of fact if it needs
           them to defeat the motion for summary judgment.

     2.    The purpose of additional proposed findings of fact is to SUPPLEMENT the
           moving party’s proposed findings of fact, not to dispute any facts proposed by
           the moving party. They do not take the place of responses. Even if the
           responding party files additional proposed findings of fact, it MUST file a
           separate response to the moving party’s proposed findings of fact.

C.   Unless the responding party puts into dispute a fact proposed by the moving party,
     the court will conclude that the fact is undisputed.

D.   Rules Regarding Responses to the Moving Party’s Proposed Factual Statements:

     1.    Answer each numbered fact proposed by the moving party in separate
           paragraphs, using the same number.

     2.    If you dispute a proposed fact, state your version of the fact and refer to
           evidence that supports that version. For example,

     Moving party proposes as a fact:

           “1. Plaintiff Smith purchased six Holstein calves from Dell’s Dairy Farm on
           July 11, 2006. Harold Smith Affidavit, Jan. 6, 2007, p.1, ¶ 3.”

     Responding party responds:

           “1. Dispute. The purchase Smith made from Dell’s Dairy Farm on July 11,
           2006 was for one Black Angus bull John Dell Affidavit, Feb. 1, 2007, Exh. A.”

     3.    The court prefers but does not require that the responding party repeat
           verbatim the moving party’s proposed fact and then respond to it. Using this
           format for the example above would lead to this response by the responding
           party:

           “1. Plaintiff Smith purchased six Holstein calves from Dell’s Dairy Farm on July 11,
           2006. Harold Smith Affidavit, Jan. 6, 2007, p.1, ¶ 3.
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               “Dispute. The purchase Smith made from Dell’s Dairy Farm on July 11, 2006
               was for one Black Angus bull.” John Dell Affidavit, Feb. 1, 2007, Exh. A.”

      4.       When a responding party disputes a proposed finding of fact, the response
               must be limited to those facts necessary to raise a dispute. The court will
               disregard any new facts that are not directly responsive to the proposed fact.
               If a responding party believes that more facts are necessary to tell its story, it
               should include them in its own proposed facts, as discussed in II.B.


E.    Evidence

      1.       Each fact proposed in disputing a moving party’s proposed factual statement
               and all additional facts proposed by the responding party must be supported
               by admissible evidence. The court will not search the record for evidence. To
               support a proposed fact, you may use evidence as described in Procedure I.C.1.
               a. through f.

      2.       The court will not consider any factual propositions made in response to the
               moving party’s proposed facts that are not supported properly and sufficiently
               by admissible evidence.


                               III. REPLY BY MOVING PARTY

A. Contents:

      1.       An answer to each numbered factual statement made by the responding party
               in response to the moving party’s proposed findings of fact, together with
               references to evidentiary materials; and

      2.       An answer to each additional numbered factual statement proposed by the
               responding party under Procedure II.B., if any, together with references to
               evidentiary materials; and

      3.       A reply brief; and

      4.       Evidentiary materials (see I.C.)

B.    If the responding party has filed additional proposed findings of fact, the moving
      party should file its response to those proposed facts at the same time as its reply,
      following the procedure in section II.
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C.    When the moving party answers the responding party’s responses to the moving
      party’s original proposed findings of fact, and answers the responding party’s
      additional proposed findings of fact, the court prefers but does not require that the
      moving party repeat verbatim the entire sequence associated with each proposed
      finding of fact so that reply is a self-contained history of all proposed facts, responses
      and replies by all parties.

                       IV. SUR-REPLY BY RESPONDING PARTY

      A responding party shall not file a sur-reply without first obtaining permission from
the court. The court only permits sur-replies in rare, unusual situations.
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                                      M OTION FOR SUM M ARY JUDGM ENT


           Deadline 1                             Deadline 2                              Deadline 3
  (All deadlines appear in the
Prelim inary Pretrial Conference
Order Sent to the Parties Earlier)

m oving party’s m otion

m oving party’s brief                non-m oving party’s response brief    m oving party’s reply brief

m oving party’s proposed             non-m oving party’s response to       m oving party’s reply to non-m oving
findings of fact                     m oving party’s proposed findings     party’s response to m oving party’s
                                     of fact                               proposed findings of fact

                                     non-m oving party’s additional        m oving party’s response to non-
                                     proposed findings of fact             m oving party’s additional proposed
                                                                           findings of fact, if any.




                                   CROSS M OTIONS FOR SUM M ARY JUDGM ENT


           Deadline 1                             Deadline 2                              Deadline 3
  (All deadlines appear in the
Prelim inary Pretrial Conference
Order Sent to the Parties Earlier)

defendant’s motion

defendant’s brief                    plaintiff’s response brief            defendant’s reply brief

defendant’s proposed findings of     plaintiff’s response to defendant’s   defendant’s reply to plaintiff’s
fact                                 proposed findings of fact             response to defendant’s proposed
                                                                           findings of fact

plaintiff’s m otion

plaintiff’s brief                    defendant’s response brief            plaintiff’s reply brief

plaintiff’s proposed findings of     defendant’s response to plaintiff’s   plaintiff’s reply to defendant’s
fact                                 proposed findings of fact             response to plaintiff’s proposed
                                                                           findings of fact
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             PROCEDURES GOVERNING FINAL PRETRIAL CONFERENCE


     1 The preliminary pretrial conference order tells the parties what documents must be
submitted for the final pretrial conference and what the deadlines are for submitting them.

      2. The court’s standard voir dire questions and standard jury instructions are attached to
this order and will be asked in every case. The parties should not duplicate the standard
questions or instructions.

       3. A party must submit to the court an electronic copy of any proposed additional voir dire
questions, proposed form of special verdict and proposed jury instructions in full electronic text (that
is, not just by citation) by e-mailing them in a single document in WordPerfect or Microsoft Word
format to wiwd_bbc@wiwd.uscourts.gov.

      4. Proposed jury instructions shall be submitted in the following form:

             A.     Pattern instructions are to be requested by reference to the source
                    (e.g., court’s standard instruction or Devitt & Blackmar, § 18.01);
                    and

             B.     Special instructions or pattern instructions, whether modified or
                    not, must be presented double-spaced with one instruction per
                    page, and each instruction shall show the identity of the submitting
                    party, the number of the proposed instruction, and the citation of
                    the pattern instruction, decision, statute, regulation or other
                    authority supporting the proposition stated, with any additions
                    underscored and any deletions set forth in parentheses. The e-mail
                    version of a party's proposed instructions must follow this format.

      5. The court retains the discretion to refuse to entertain voir dire questions, special verdict
forms, or jury instructions not submitted in accordance with this order or the preliminary pretrial
conference order unless the subject of the request is one arising during trial that could not reasonably
have been anticipated prior to trial.

       6. Each party shall be represented at the final pretrial conference by the lawyer who will
actually try the case unless the party is proceeding pro se, in which case the pro se party must appear.
A party represented by counsel shall also be present in person unless

             A.     Counsel has been delegated the full authority to settle the case; or
             B.     Attendance in person is impossible and arrangements are made for
                    communication by telephone during the entire duration of the conference for the
                    purpose of acting upon settlement proposals.
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                               PROCEDURES FOR TRIAL EXHIBITS
                             IN CASES ASSIGNED TO JUDGE CRABB

        Before trial, the parties are to label all exhibits that may be offered at trial. Before the start
of trial, the parties are to provide the deputy clerk with a list of all exhibits. Exhibits for use at
trial are not subject to the electronic filing procedures, but are to be filed conventionally. Counsel
are to retain the original exhibits following trial.

       1. Each party is to label all exhibits.

       2. If more than one defendant will be offering exhibits, that defendant should add an initial
identifying the particular defendant to the label.

      3. Each party is to submit a list of their exhibits. The party should state to whom the
exhibits belong, the number of each exhibit and a brief description.

      4. Each party is to provide the court with the original exhibit list and a copy of each exhibit
that may be offered for the judge’s use.

      5. As a general rule, the plaintiff should use exhibit numbers 1-500 and the defendant
should use exhibit numbers 501 and up.

       6. Each party is to maintain custody of his or her own exhibits throughout the trial.

        7. At the end of trial, each party is to retain all exhibits that become a part of the record.
It is each party’s responsibility to maintain his or her exhibits and to make arrangements with the
clerk’s office for inclusion of the exhibits in the appeal record, if there is an appeal.

      8. Each party should be aware that once reference is made to an exhibit at trial, the exhibit
becomes part of the record, even though the exhibit might not be formally offered or might not
be received.

     Any questions concerning these instructions may be directed to the clerk’s office at (608)
264-5156.

       Entered this 19th day of May, 2006.

                                                 BY THE COURT:

                                                 BARBARA B. CRABB
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                              District Judge
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                        COURT’S STANDARD VOIR DIRE QUESTIONS
                         IN CASES ASSIGNED TO JUDGE CRABB

1.   Statement of the case. (A very brief, concise description of the plaintiff(s)' claims and the
     defendant(s)' defenses.)

           Has any one of you ever heard of this case before today? How? When? When
           you heard about it, did you form any opinion concerning the case? Do you
           believe that your ability to serve impartially as a juror in this case has been
           affected by what you have heard about it?

2.   The trial of this case will begin _____________ and will last _______________ days. Is there any
     one of you who would be unable to serve as a juror during this time?

3.   Ask counsel to stand and tell the jury where they practice and with whom. Ask panel
     whether anyone knows counsel or their associates or partners.

4.   Ask counsel to introduce the parties. Ask panel whether anyone knows any of the parties.
     (If any party is a corporation, have counsel identify the nature of the corporation's business,
     its major subsidiaries, or its parent corporation, and where it conducts business. Ask
     whether anyone on the panel is stockholder of corporation or has had business dealings
     with it.)

5.   Question to each prospective juror.

           Please stand up and tell us about yourself.

           Name, age, and city or town of residence.

           Marital status and number of children, if any.

           Current occupation (former if retired).

           Current (or former) occupation of your spouse or domestic partner.

           Any military service, including branch, rank and approximate date of discharge.

           How far you went in school and major areas of study, if any.

           Memberships in any groups or organizations.

           Hobbies and leisure-time activities.

           Favorite types of reading material.

           Favorite types of television shows.
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6.    Question to panel regarding prior experience with court proceedings:

      a.    Have any of you ever been a party to a lawsuit? Describe circumstances.

      b.    Have any of you ever been a witness in a lawsuit?

      c.    How many of you have served previously on a jury?

      d.    Of those of you who have sat on a jury, were you ever the foreperson on a jury?
            Describe your experience.

      e.    Do any of you know any of the other persons on the jury panel?

7.    Question to panel in personal injury cases:

      In this case the plaintiff is alleging that he suffered injuries [describe in summary fashion,
      for example, he was burned, or he suffered a broken leg and ankle] in an [automobile,
      horseback riding, industrial, farm, etc.] accident.

      a.    Has any one of you ever suffered similar injuries? Describe. Do you have any
            residual effects of your injury?

      b.    Do you have close friends or relatives who have suffered similar injuries?

      c.    Were you ever in an accident involving [an automobile, farm machinery, industrial
            machine, etc.)?

      d.    Do you have any close friends or relatives who have been in an accident of this kind?

8.    Question to panel.       At the end of the case I will give you instructions that will govern
      your deliberations. You are required to follow those instructions, even if you do not agree
      with them. Is there any one of you who would be unable or unwilling to follow the
      instructions?

9.    Question to panel. Do any of you have opinions, whether positive or negative, about
      people who go to court to obtain relief for wrongs they believe they have suffered?

10.   Question to panel. Do you know of any reason whatsoever why you could not sit as a trial
      juror with absolute impartiality to all the parties in this case?
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                     STANDARD JURY INSTRUCTIONS – CIVIL*




*These instructions are used in cases before the Honorable Barbara B. Crabb, District Judge
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                            I. INTRODUCTORY INSTRUCTION

        Members of the jury, we are about to begin the trial of the case. Before it begins, I will
give you some instructions to help you understand how the trial will proceed, how you
should evaluate the evidence, and how you should conduct yourselves during the trial.
        The party who begins the lawsuit is called the plaintiff. In this action, the plaintiff is
____________________________. The parties against whom the suit is brought are called the
defendants. In this action, the defendants are _____________________________________.
        [Describe claims and basic legal elements of claims and defenses]
        The case will proceed as follows:
        First, plaintiff's counsel will make an opening statement outlining plaintiff's case.
Immediately after plaintiff's statement, defendants' counsel will also make an opening
statement outlining defendants' case. What is said in opening statements is not evidence;
it is simply a guide to help you understand what each party expects the evidence to show.

        Second, after the opening statements, the plaintiff will introduce evidence in support
of his claim. At the conclusion of the plaintiff's case, the defendants may introduce evidence.
The defendants are not required to introduce any evidence or to call any witnesses. If the
defendants introduce evidence, the plaintiff may then introduce rebuttal evidence.
        Third, after the evidence is presented, the parties will make closing arguments
explaining what they believe the evidence has shown and what inferences you should draw
from the evidence. What is said in closing argument is not evidence. The plaintiff has the
right to give the first closing argument and to make a short rebuttal argument after the
defendants’ closing argument.
        Fourth, I will instruct you on the law that you are to apply in reaching your verdict.
        Fifth, you will retire to the jury room and begin your deliberations.
        You will hear the term "burden of proof" used during this trial. In simple terms, the
phrase "burden of proof" means that the party who makes a claim has the obligation of
proving that claim. At the end of the trial, I will instruct you on the proper burden of proof
to be applied in this case.
        The trial day will run from 9:00 a.m. until 5:30 p.m. You will have at least an hour
for lunch and two additional short breaks, one in the morning and one in the afternoon.
        During recesses you should keep in mind the following instructions:
        First, do not discuss the case either among yourselves or with anyone else during the
course of the trial. The parties to this lawsuit have a right to expect from you that you will
keep an open mind throughout the trial. You should not reach a conclusion until you have
heard all of the evidence and you have heard the lawyers' closing arguments and my
instructions to you on the law, and have retired to deliberate with the other members of the
jury.
        Second, do not permit any third person to discuss the case in your presence. If anyone
tries to talk to you despite your telling him not to, report that fact to the court as soon as
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you are able. Do not discuss the event with your fellow jurors or discuss with them any
other fact that you believe you should bring to the attention of the court.
       Third, although it is a normal human tendency to converse with people with whom
one is thrown in contact, please do not talk to any of the parties or their attorneys or
witnesses. By this I mean not only do not talk about the case, but do not talk at all, even to
pass the time of day. In no other way can all parties be assured of the absolute impartiality
they are entitled to expect from you are jurors.
       Fourth, do not read about the case in the newspapers, or listen to radio or television
broadcasts about the trial. If a newspaper headline catches your eye, do not examine the
article further. Media accounts may be inaccurate and may contain matters that are not
proper for your consideration. You must base your verdict solely on the evidence produced
in court.
       Fifth, no matter how interested you may become in the facts of the case, you must not
do any independent research, investigation or experimentation. Do not look up materials
on the internet or in other sources. [do not visit the site of the incident] [or perform any kind
of experiment.] Again, you must base your verdict solely on the evidence produced in court.



Credibility of Witnesses
        In deciding the facts, you may have to decide which testimony to believe and which
testimony not to believe. You may believe everything a witness says, part of it, or none of
it. In considering the testimony of any witness, you may take into account many factors,
including the witness’s opportunity and ability to see or hear or know the things the witness
testified about; the quality of the witness’s memory; the witness’s appearance and manner
while testifying; the witness’s interest in the outcome of the case; any bias or prejudice the
witness may have; other evidence that may have contradicted the witness’s testimony; and
the reasonableness of the witness’ testimony in light of all the evidence. The weight of the
evidence does not necessarily depend upon the number of witnesses who testify.

Depositions
       During the course of a trial the lawyers will often refer to and read from depositions.
Depositions are transcripts of testimony taken while the parties are preparing for trial.
Deposition testimony is given under oath just like testimony on the trial. You should give
it the same consideration you would give it had the witnesses testified here in court.

Objections
       During the trial, you will hear the lawyers make objections to certain questions or to
certain answers of the witnesses. When they do so, it is because they believe the question
or answer is legally improper and they want me to rule on it. Do not try to guess why the
objection is being made or what the answer would have been if the witness had been allowed
to answer it.
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      If I tell you not to consider a particular statement that has already been made, put that
statement out of your mind and remember that you may not refer to it during your
deliberations.

Questions
       During the trial, I may sometimes ask a witness questions. Please do not assume that
I have any opinion about the subject matter of my questions.
       If you wish to ask a question about something you do not understand, write it down
on a separate slip of paper. If, when the lawyers have finished all of their questioning of the
witness, the question is still unanswered to your satisfaction, raise your hand, and I will take
the written question from you, show it to counsel, and decide whether it is a question that
can be asked. If it cannot, I will tell you that. I will try to remember to ask about questions
after each witness has testified.

Notetaking
       The clerk will give each of you a notepad and pencil for taking notes. This does not
mean you have to take notes; take them only if you want to and if you think they will help
you to recall the evidence during your deliberations. Do not let notetaking interfere with
your important duties of listening carefully to all of the evidence and of evaluating the
credibility of the witnesses. Keep in mind that just because you have written something
down it does not mean that the written note is more accurate than another juror's mental
recollection of the same thing. No one of you is the "secretary" for the jury, charged with the
responsibility of recording evidence. Each of you is responsible for recalling the testimony
and other evidence.
       Although you can see that the trial is being reported, you should not expect to be able
to use trial transcripts in your deliberations. You will have to rely on your own memories.



Evidence
       Evidence at a trial includes the sworn testimony of the witnesses, exhibits admitted
into the record, facts judicially noticed, and facts stipulated by counsel. You may consider
only evidence that is admitted into the record.
       In deciding the facts of this case, you are not to consider the following as evidence:
statements and arguments of the lawyers, questions and objections of the lawyers, testimony
that I instruct you to disregard, and anything you may see or hear when the court is not in
session even if what you see or hear is done or said by one of the parties or by one of the
witnesses.
       Evidence may be either direct or circumstantial. Direct evidence is direct proof of a
fact, such as testimony by a witness about what the witness said or heard or did.
Circumstantial evidence is proof of one or more facts from which you could find another fact.
You should consider both kinds of evidence. The law makes no distinction between the
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weight to be given to either direct or circumstantial evidence. You are to decide how much
weight to give any evidence.

Contradictory or Impeaching Evidence
        A witness may be discredited by contradictory evidence or by evidence that at some
other time the witness has said or done something, or has failed to say or do something, that
is inconsistent with the witness's present testimony.
        If you believe any witness has been discredited, it is up to you to decide how much of
the testimony of that witness you believe.
        If a witness is shown to have given false testimony knowingly, that is, voluntarily and
intentionally, about any important matter, you have a right to distrust the witness's
testimony about other matters. You may reject all the testimony of that witness or you may
choose to believe some or all of it.
        The general rule is that if you find that a witness said something before the trial that
is different from what the witness said at trial you are to consider the earlier statements only
as an aid in evaluating the truthfulness of the witness's testimony at trial. You cannot
consider as evidence in this trial what was said earlier before the trial began.
        There is an exception to this general rule for witnesses who are the actual parties in
the case. If you find that any of the parties made statements before the trial began that are
different from the statements they made at trial, you may consider as evidence in the case
whichever statement you find more believable.

Drawing of Inferences
      You are to consider only the evidence in the case. But in your consideration of the
evidence, you are not limited solely to what you see and hear as the witnesses testify. You
are permitted to draw, from facts you find have been proved, such reasonable conclusions
as seem justified in the light of your own experience and common sense.

Experts
       A person's training and experience may make him or her a true expert in a technical
field. The law allows that person to state an opinion here about matters in that particular
field. It is up to you to decide whether you believe the expert's testimony and choose to rely
upon it. Part of that decision will depend on your judgment about whether the expert's
background of training and experience is sufficient for him or her to give the expert opinion
that you heard, and whether the expert's opinions are based on sound reasons, judgment,
and information.
       During the trial, an expert witness may be asked a question based on assumptions that
certain facts are true and then asked for his or her opinion based upon that assumption.
Such an opinion is of use to you only if the opinion is based on assumed facts that are
proven later. If you find that the assumptions stated in the question have not been proven,
then you should not give any weight to the answer the expert gave to the question.
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                            II. POST-TRIAL INSTRUCTIONS
Introduction
       Ladies and Gentlemen of the Jury:
       Now that you have heard the evidence and the arguments, I will give you the
instructions that will govern your deliberations in the jury room. It is my job to decide what
rules of law apply to the case and to explain those rules to you. It is your job to follow the
rules, even if you disagree with them or don't understand the reasons for them. You must
follow all of the rules; you may not follow some and ignore others.
       The decision you reach in the jury room must be unanimous. In other words, you
must all agree on the answer to each question.
       Your deliberations will be secret. You will never have to explain your verdict to
anyone.
       If you have formed any idea that I have an opinion about how the case should be
decided, disregard that idea. It is your job, not mine, to decide the facts of this case.
       The case will be submitted to you in the form of a special verdict consisting of____
questions. In answering the questions, you should consider only the evidence that has been
received at this trial. Do not concern yourselves with whether your answers will be favorable
to one side or another, or with what the final result of this lawsuit may be.
       Note that certain questions in the verdict are to be answered only if you answer a
preceding question in a certain manner. Read the introductory portion of each question very
carefully before you undertake to answer it. Do not answer questions needlessly.

Burden of Proof
       When a party has the burden to prove any matter by a preponderance of the evidence,
it means that you must be persuaded by the testimony and exhibits that the matter sought
to be proved is more probably true than not true. You should base your decision on all of
the evidence, regardless of which party presented it.

Middle Burden of Proof
       In answering question     , you are instructed that the burden is on the plaintiff to
convince you to a reasonable certainty by evidence that is clear, satisfactory, and convincing
that the answer should be "yes."

Answers Not Based on Guesswork
      If, after you have discussed the testimony and all other evidence that bears upon a
particular question, you find that the evidence is so uncertain or inadequate that you have
to guess what the answer should be, then the party having the burden of proof as to that
question has not met the required burden of proof. Your answers are not to be based on
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guesswork or speculation. They are to be based upon credible evidence from which you can
find the existence of the facts that the party must prove in order to satisfy the burden of
proof on the question under consideration.

Selection of Presiding Juror; Communication with the Judge; Verdict
       When you go to the jury room to begin considering the evidence in this case you
should first select one of the members of the jury to act as your presiding juror. This person
will help to guide your discussions in the jury room.
       You are free to deliberate in any way you decide or select whomever you like as a
presiding juror. However, I am going to provide some general suggestions on the process to
help you get started. When thinking about who should be presiding juror, you may want to
consider the role that the presiding juror usually plays. He or she serves as the chairperson
during the deliberations and has the responsibility of insuring that all jurors who desire to
speak have a chance to do so before any vote. The presiding juror should guide the
discussion and encourage all jurors to participate.
       Once you are in the jury room, if you need to communicate with me, the presiding
juror will send a written message to me. However, don't tell me how you stand as to your
verdict.
       As I have mentioned before, the decision you reach must be unanimous; you must all
agree.
       When you have reached a decision, the presiding juror will sign the verdict form, put
a date on it, and all of you will return with the verdict into the court.

Suggestions for Conducting Deliberations:
       In order to help you determine the facts, you may want to consider discussing one
claim at a time, and use my instructions to the jury as a guide to determine whether there
is sufficient evidence to prove all the necessary legal elements for each claim or defense. I
also suggest that any public votes on a verdict be delayed until everyone can have a chance
to say what they think without worrying what others on the panel might think of their
opinion. I also suggest that you assign separate tasks, such as note taking, time keeping and
recording votes to more than one person to help break up the workload during your
deliberations. I encourage you at all times to keep an open mind if you ever disagree or come
to conclusions that are different from those of your fellow jurors. Listening carefully and
thinking about the other juror's point of view may help you understand that juror’s position
better or give you a better way to explain why you think your position is correct.



                                      III. DAMAGES
General
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       On the damages question, the party asking for damages has the burden of convincing
you, by the preponderance of the evidence, both that he or she has been injured or damaged
and the amount of the damages.
       The party seeking damages need not produce evidence that is as exact as the evidence
needed to support findings on other questions in the verdict. Determining damages involves
the consideration of many different factors that cannot be measured precisely. In
determining the damages you must base your answer on evidence that reasonably supports
your determination of damages under all of the circumstances of the case. You should award
as damages the amount of money that you find fairly and reasonably compensates the named
party for his or her injuries.
       Do not measure damages by what the lawyers ask for in their arguments. Their
opinions as to what damages should be awarded should not influence you unless their
opinions are supported by the evidence. It is your job to determine the amount of the
damages sustained from the evidence you have seen and heard. Examine that evidence
carefully and impartially. Do not add to the damage award or subtract anything from it
because of sympathy to one side or because of hostility to one side. Do not make any
deductions because of a doubt in your minds about the liability of any of the parties.

Income Taxes
       You must not add to any award of damages any money to compensate the plaintiff for
state or federal income taxes. Damages received as an award for personal injuries are exempt
from income taxes. On the other hand, you must not subtract any money from your award
of damages just because the plaintiff is not required to pay income taxes.

Pain and Suffering
      In determining how much money will fairly and reasonably compensate plaintiff for
past pain and suffering [disability] [disfigurement] [mental anguish] [loss of capacity for
enjoyment of life], you should consider any pain and suffering, mental anguish and
apprehension, sorrow and anxiety plaintiff has endured from the time of the incident up to
the present time. There is no exact standard for deciding how much to award plaintiff for
these damages. Your award should be fair and just in the light of the evidence.

Aggravation of Pre-existing Injury or Condition
       The evidence shows that the plaintiff was previously injured when
______________________. If the injuries plaintiff received at _______________ aggravated any
physical, mental or emotional condition resulting from the earlier injury or injuries, you
should award fair and reasonable compensation for such aggravation. However, you should
award compensation only if you find the aggravation of the existing condition was a natural
result of the injuries received at __________________.
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Duty to Mitigate Damages
       A person who has been damaged may not recover for losses that he or she could have
reduced by reasonable efforts. “Reasonable efforts” do not include efforts that might cause
serious harm or subject the person making the effort to an unreasonable risk, unreasonable
inconvenience, unreasonable expense, disorganization of his or her business or loss of honor
and respect.
       If you find that a reasonable person would have taken steps to reduce the loss, and if
you find that the plaintiff did not take such steps, then you should not include as damages
any amount the plaintiff could have avoided. If you find that a reasonable person would not
have taken steps to reduce the loss under all of the circumstances existing in the case, then
you should not consider the plaintiff’s failure to act when you determine damages.
       It is defendants’ burden to satisfy you by the greater weight of the credible evidence
that plaintiff should have taken steps to reduce the loss and failed to do so.

Mortality Tables
       In answering the question of future damages as a result of plaintiff’s injuries, you may
take into consideration the fact that at this time_______ is ________ years of age. According
to the mortality tables, plaintiff has a life expectancy of ____ years.
       Although a mortality table giving the expectancy of life of a person of _________’s age,
was received in evidence as an aid in determining such expectancy, it is not conclusive or
binding upon you. Such tables are based upon averages, and there is no certainty that any
person will live the average duration of life rather than a longer or shorter period. In order
to determine the probable length of life of ____________, you should take into consideration
all of the facts and circumstances established by the credible evidence bearing upon that
subject.

Future Earnings
       In determining the amount of damages for any loss of ________ that will be incurred
in the future, it is your duty to determine the present worth of such future damages.
       By present worth, I am referring to the fact that a lump sum of money received today
is worth more than the same sum paid in installments over a period of months or years. A
sum received today can be invested and earn money at current interest rates. Your answer
will reflect the present value in dollars of an award of future damages if you make a
reduction for the earning power of money.
       Keep in mind that this instruction does not apply to the portion of future damages
that represents future pain and suffering. In computing the amount of future damages, you
may take into account economic conditions, present and future, and the effects of inflation.
       The fact that I have instructed you on the proper measure of damages does not mean
I have any view about the verdict in this case. These instructions on damages are only for
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your guidance in the event that you should find in favor of plaintiff on the question of
liability.

Punitive Damages
        If you answered “yes” to Question No. ___, you may award punitive damages in
addition to compensatory damages. You are not required to make any award of punitive
damages, but you may do so if you think it is proper under the circumstances to make such
an award as an example or punishment to deter the defendant and others from offending in
a similar manner in the future. In deciding whether to make an award of punitive damages
you may also consider the seriousness of the offense committed.
        Punitive damages may be awarded even if the violation of plaintiff's rights resulted in
only nominal compensatory damages. That is, even if the plaintiff can show no damages or
other injury as a result of a defendant's actions, if the defendant acted with deliberate
indifference to plaintiff's rights, punitive damages may be awarded.
        Punitive damages are never a matter of right. It is in the jury's discretion to award or
withhold them. Punitive damages may not be awarded unless the defendant acted with
deliberate indifference to the plaintiff's rights. Even if you find that the violations were
reckless or deliberate, you may withhold or allow punitive damages as you see fit.
        If you find that a defendant's conduct was motivated by evil motive or intent, such as
ill will or spite or grudge either toward the injured person individually or toward all persons
such as plaintiff, then you may find that the defendant deliberately violated the plaintiff's
rights.
        Acts are reckless when they represent a gross departure from ordinary care in a
situation where a high degree of danger is apparent. If the defendant was in a position in
which he certainly should have known that his conduct would violate the plaintiff's rights,
and proceeded to act in disregard of that knowledge and of the harm or the risk of harm that
would result to the plaintiff, then he acted with reckless disregard for the plaintiff's rights.
        In answering this question, you are instructed that the burden is on the plaintiff to
convince you to a reasonable certainty by evidence that is clear, satisfactory, and convincing
that the answer should be "yes."
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                PROCEDURES FOR CALLING WITNESSES TO TRIAL



      At trial, plaintiff will have to be ready to prove facts supporting his claims against the

defendants. One way to offer proof is through the testimony of witnesses who have personal

knowledge about the matter being tried. If a party wants witnesses to be present and

available to testify on the day of trial, the party must follow the procedures explained below.

(“Party” means either a plaintiff or a defendant.)      These procedures must be followed

whether the witness is:

      1) A defendant to be called to testify by a plaintiff; or

      2) A plaintiff to be called to testify by a defendant; or

      3) A person not a party to the lawsuit to be called to testify by either a plaintiff or a

defendant.



      I. PROCEDURES FOR OBTAINING ATTENDANCE OF INCARCERATED
             WITNESSES WHO AGREE TO TESTIFY VOLUNTARILY

      An incarcerated witness who tells a party that he is willing to attend trial to give

testimony cannot come to court unless the court orders his custodian to let him come. The

Court must issue an order known as a writ of habeas corpus ad testificandum. This court

will not issue such a writ unless the party can establish to the court’s satisfaction that

      1) The witness has agreed to attend voluntarily; and

      2) The witness has actual knowledge of facts directly related to the issue to be tried.



      A witness’s willingness to come to court as a witness can be shown in one of two ways.

             a. The party can serve and file an affidavit declaring under penalty of perjury

      that the witness told the party that he or she is willing to testify voluntarily, that is,

      without being subpoenaed. The party must say in the affidavit when and where the

      witness informed the party of this willingness;
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                                              OR

             b. The party can serve and file an affidavit in which the witness declares under

       penalty of perjury that he or she is willing to testify without being subpoenaed.



       The witness's actual knowledge of relevant facts may be shown in one of two ways.

             a. The party can declare under penalty of perjury that the witness has relevant

             information about the party’s claim. However, this can be done only if the

             party knows first-hand that the witness saw or heard something that will help

             him prove his case. For example, if the trial is about an incident that happened

             in or around a plaintiff's cell and, at the time, the plaintiff saw that a cellmate

             was present and witnessed the incident, the plaintiff may tell the court in an

             affidavit what happened, when and where the incident occurred, who was

             present, and how the witness was in a position to see or hear what occurred;

                                              OR

             b. The party can serve and file an affidavit in which the witness tells the court

             what happened, when and where the incident occurred, who was present, and

             how the witness was in a position to see or hear what occurred.



       Not later than four weeks before trial, a party planning to use the testimony of an

incarcerated witness who has agreed to come to trial must serve and file a written motion for

a court order requiring the witness to be brought to court at the time of trial. The motion

must

       1) State the name and address of the witness; and

       2) Come with an affidavit described above to show that the witness is willing to testify

       and that the witness has first-hand knowledge of facts directly related to the issue to

       be tried.
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When the court rules on the motion, it will say who must be brought to court and will direct

the clerk of court to prepare the necessary writ of habeas corpus ad testificandum.

   II. PROCEDURE FOR OBTAINING THE ATTENDANCE OF INCARCERATED
            WITNESSES WHO REFUSE TO TESTIFY VOLUNTARILY

      If an incarcerated witness refuses to attend trial, TWO separate procedures are

required. The court will have to issue a writ of habeas corpus ad testificandum telling the

warden to bring the witness to trial and the party must serve the witness with a subpoena.



      Not later than four weeks before trial, the party seeking the testimony of an

incarcerated witness who refuses to testify voluntarily must file a motion asking the court

to issue a writ of habeas corpus ad testificandum and asking the court to provide the party

with a subpoena form. (All requests from subpoenas from pro se litigants will be sent to the

judge for review before the clerk will issue them.)

      The motion for a writ of habeas corpus ad testificandum will not be granted unless the

party submits an affidavit

      1) Giving the name and address of the witness; and

      2) Declaring under penalty of perjury that the witness has relevant information about

the party’s claim. As noted above, this can be done only if the party knows first-hand that

the witness saw or heard something that will help him prove his case. In the affidavit, the

party must tell the court what happened, when and where the incident occurred, who was

present, and how the witness was in a position to see or to hear what occurred.

      The request for a subpoena form will not be granted unless the party satisfies the court

in his affidavit that

      1) The witness refuses to testify voluntarily;
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      2) The party has made arrangements for a person at least 18 years of age who is not

a party to the action to serve the subpoena on the witness; or

      3) The party is proceeding in forma pauperis, has been unable to arrange for service

of the subpoena by a person at least 18 years of age who is not a party to the action and

needs assistance from the United States Marshal or a person appointed by the court.



If the court grants the party’s request for a subpoena for an incarcerated witness, it will be

the party's responsibility to complete the subpoena form and send it to the person at least

18 years of age who will be serving the subpoena or to the United States Marshal, if the court

has ordered that the subpoena be served by the Marshal. The address of the United States

Marshal is 120 N. Henry St., Suite 440, Madison, Wisconsin, 53703. If the subpoena is not

received by the marshal at least two weeks in advance of trial, the marshal may not have

enough time to serve the subpoena on the party’s witness.



               III. UNINCARCERATED WITNESSES WHO AGREE TO
                           TESTIFY VOLUNTARILY

      It is the responsibility of the party who has asked an unincarcerated witness to come

to court to tell the witness of the time and date of trial. No action need be sought or

obtained from the court.



                 IV. UNINCARCERATED WITNESSES WHO REFUSE
                          TO TESTIFY VOLUNTARILY

      If a prospective witness is not incarcerated, and he or she refuses to testify voluntarily,

no later than four weeks before trial, the party must serve and file a request for a subpoena

form. All parties who want to subpoena an unincarcerated witness, even parties proceeding

in forma pauperis, must be prepared to tender an appropriate sum of money to the witness
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at the time the subpoena is served. The appropriate sum of money is a daily witness fee and

the witness's mileage costs. In addition, if the witness's attendance is required for more than

one trial day, an allowance for a room and meals must be paid. The current rates for daily

witness fees, mileage costs and room and meals may be obtained either by writing the clerk

of court at P.O. Box 432, Madison, Wisconsin, 53703, or calling the office of the clerk at

(608) 264-5156.

      Before the court will grant a request for a subpoena form for an unincarcerated

witness, the party must satisfy the court by affidavit declared to be true under penalty of

perjury that

      1) The witness refuses to testify voluntarily;

      2) The party has made arrangements for a person at least 18 years of age who is not

a party to the action to serve the subpoena on the witness; or

      3) The party is proceeding in forma pauperis, has been unable to arrange for service

of the subpoena by a person at least 18 years of age who is not a party to the action and

needs assistance from the United States Marshal or a person appointed by the court; and

      4) The party is prepared to tender to the marshal or other individual serving the

subpoena a check or money order made payable to the witness in an amount necessary to

cover the daily witness fee and the witness’s mileage, as well as costs for room and meals if

the witness’s appearance at trial will require an overnight stay.

      If the court grants the party’s request for a subpoena for an unincarcerated witness,

it will be the party's responsibility to complete the subpoena form and send it to the person

at least 18 years of age who will be serving the subpoena or to the United States Marshal,

if the court has ordered that the subpoena be served by the marshal, together with the

necessary check or money order. The address of the United States Marshal is 120 N. Henry

St., Suite 440, Madison, Wisconsin, 53703. If the subpoena is not received by the marshal

at least two weeks in advance of trial, the marshal may not have enough time to serve the

subpoena on the party’s witness.



                                       V. SUMMARY
      The chart below may assist in referring you to the section of this paper which sets

forth the appropriate procedure for securing the testimony of witnesses in your case.
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                                          WITNESSES



               INCARCERATED                                  UNINCARCERATED



  VOLUNTARY               INVOLUNTARY                 VOLUNTARY             INVOLUNTARY
                      A court order that the
A court order that
                      witness be brought to       Nothing need be sought   Pro se parties must
the witness be
                      court and a subpoena are    or obtained from the     obtain an order
brought to court is
                      required. A motion must     court.                   granting issuance
required. Papers
                      be served & filed 4 weeks                            of a subpoena.
are due 4 weeks
                      before trial. Subpoena                               Papers are due 4
before trial.
                      forms must be completed                              weeks before trial.
                      2 weeks before trial.                                Completed forms
                                                                           and fees are due 2
                                                                           weeks before trial.
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                                    Office of the Clerk
                         UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WISCONSIN
___________________________________________________________________________________
 120 North Henry Street, Room 320 • P.O. Box 432 • Madison, WI 53701-0432 • 608-264-
5156



                                 October 27, 2006

                                       MEMO




       If a case is settled on the weekend before trial, the court should be notified
immediately by calling Clerk of Court Peter Oppeneer at (608) 287-4875. This
notification will enable the Clerk to call off unneeded jurors and to advise the trial
judge to discontinue working on the case. The same procedure should be followed
to report last-minute emergencies which might affect the start of the trial.
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                           ORDER IN NON-JURY CASES
                           ASSIGNED TO JUDGE CRABB


       Counsel are hereby directed to observe the following requirements in preparing

for the trial to the court in this case:

       1. No later than TWO WEEKS IN ADVANCE OF THE TRIAL counsel are to

confer for the following purposes:

                     A. To enter into comprehensive written
                     stipulations of all uncontested facts in such
                     form that they can be offered at trial as the
                     first evidence presented by the party desiring
                     to offer them. If there is a challenge to the
                     admissibility of some uncontested facts that
                     one party wishes included, the party objecting
                     and the grounds for objection must be stated.

                     B.   To make any deletions from their
                     previously-exchanged lists of potential trial
                     witnesses.

                     C. To enter into written stipulations setting
                     forth the qualifications of expert witnesses.

                     D. To examine, mark, and list all exhibits
                     that any party intends to offer at trial. (A
                     copy of this court’s procedures for marking
                     exhibits is contained in this packet.)

                     E. To agree as to the authenticity and
                     admissibility of such exhibits so far as
                     possible and note the grounds for objection to
                     any not agreed upon.

                     F.   To agree so far as possible on the
                     contested issues of law.
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                    G. To examine and prepare a list of all
                    depositions and portions of depositions to be
                    read into evidence and agree as to those
                    portions to be read. If any party objects to
                    the admissibility of any portion, the name of
                    the party objecting and the grounds shall be
                    set forth.

                    H. To explore the prospects of settlement.

It shall be the responsibility of plaintiff’s counsel to convene the conference between

counsel and, following that conference, to prepare the Pretrial Statement described

in the next paragraph.

      2. No later than ONE WEEK PRIOR TO THE TRIAL, plaintiff’s counsel shall

submit a Pretrial Statement containing the following:

                    A.    The parties’ comprehensive written
                    stipulations of all uncontested facts.

                    B. The probable length of trial.

                    C. The names of all prospective witnesses.
                    Only witnesses so listed will be permitted to
                    testify at the trial except for good cause
                    shown.

                    D. The parties’ written stipulation setting
                    forth the qualifications of all expert
                    witnesses.

                    E. Schedules of all exhibits that will be
                    offered in evidence at the trial, together with
                    an indication of those agreed to be admissible
                    and a summary statement of the grounds for
                    objection to any not agreed upon. Only
                    exhibits so listed shall be offered in evidence
                    at the trial except for good cause shown.
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                   F. An agreed statement of the contested
                   issues of law supplemented by a separate
                   statement by each counsel of those issues of
                   law not agreed to by all parties.

                   G. A list of all depositions and portions of
                   depositions to be offered in evidence,
                   together with an indication of those agreed to
                   be admissible and summary statements of the
                   grounds for objections to any not so agreed
                   upon. If only portions of a deposition are to
                   be offered, counsel should mark the
                   deposition itself with colored markers
                   identifying the portions each party will rely
                   upon.

      3. No later than ONE WEEK PRIOR TO TRIAL, each counsel shall file with

the court and serve upon opposing counsel a statement of all the facts that counsel

will request the court to find at the conclusion of the trial. In preparing these

statements, counsel should have in mind those findings that will support a judgment

in their client’s favor. The proposed findings should be complete. They should be

organized in the manner in which counsel desire them to be entered. They should

include stipulated facts, as well as facts not stipulated to but which counsel expect

to be supported by the record at the conclusion of the trial. Those facts that are

stipulated to shall be so marked.
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       4. Along with the proposed findings of fact required by paragraph 3 of this

order, each counsel shall also file and serve a proposed form of special verdict, as if

the case were to be tried to a jury.

       5. Before the start of trial, each counsel shall submit to the court a complete

set of counsel’s pre-marked trial exhibits to be used by the judge as working copies

at trial.

       6. If counsel wish to submit trial briefs, they are to do so no later than THREE

WORKING DAYS PRIOR TO TRIAL. Copies of briefs must be provided to opposing

counsel.

       Final pretrial submissions are to be filed as stated above with no exceptions.

Failure to file or repeated and flagrant violations may result in the loss of

membership in the bar of this court.




       Entered this 27th day of October, 2006.

                                 BY THE COURT:

                                 BARBARA B. CRABB
                                 District Judge
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                ORDER REGARDING TIMELY PRESENTATION
                OF TRIAL WITNESSES AND TRIAL EVIDENCE



      The parties must have all witnesses and other evidence ready and available for

timely presentation at trial in order to prevent delay. Failure to comply with this

order will be grounds for an order precluding the presentation of any additional

evidence by the non-complying party.

      Entered this 27th day of October, 2006.

                                       BY THE COURT:

                                       BARBARA B. CRABB
                                       District Judge
